Case 1:05-cr-00401-ILG         Document 274        Filed 12/14/07   Page 1 of 19 PageID #: 1601




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                             MEMORANDUM AND ORDER
        -against-                                                05 CR 401 (ILG)

 DWAYNE STONE,
 JAMES McTIER and
 SHARIEF RUSSELL,

                         Defendant.
 ----------------------------------------------x
 GLASSER, United States District Judge:

        In a letter dated November 18, 2007. the defendant McTier expressed some

 objections to the voir dire procedures employed by the Court which were explicated at

 some length and concluded with a request that the Court reconsider the rulings it made

 that jurors numbered 74 and 103 were qualified to serve and were not substantially

 impaired. The concern which prompts the defendant’s request may perhaps be best

 understood if the relevant portion of those voir dires were set out. As to juror #74:

                THE COURT:              Let me try and collapse a lot of the questions

        that were asked in regard to the death penalty and your attitude toward it.

        This case may proceed in two stages. The first stage is what is referred to

        as the guilt stage – guilt or innocence state, I guess would be more

        accurate. At that stage of the trial the government, which has the only

        burden of proof in this case, the government would seek to discharge the

        burden of proof, they have to convince the jury beyond a reasonable doubt

        that the defendants are guilty of the crimes with which they are charged,

        and after all the evidence is in and you listen to the arguments pro and con
Case 1:05-cr-00401-ILG     Document 274       Filed 12/14/07    Page 2 of 19 PageID #: 1602




       as to guilt or innocence, my instructions as to the law, you will retire with

       the other members of the jury and spend as much time as you need

       discussing the case. And assume you come out with a verdict of guilty, if

       the jury comes out with a verdict of guilty, if the jury comes out with a

       verdict of not guilty, that would be the end of the matter, but if the jury

       comes out with the verdict of guilty, then there would be a second stage,

       the penalty stage. In a case in which the death penalty is one of the

       alternatives, it is the jury that makes a decision, not the court. So at that

       second stage you will be hearing evidence from the government of what

       has been referred to in the questionnaire as aggravating factors, evidence

       of factors which in the government’s view makes the death penalty

       appropriate, and you will be hearing evidence from the defendant of what

       has been referred to as mitigating factors, evidence of things, which facts

       circumstances, which the defendant believes should cause the jury to

       conclude that the death penalty is not the appropriate sentence to be

       imposed. And after you’ve listened to all of the evidence, you listen to the

       arguments pro and con, you return to the jury room and deliberate about

       all those things until you’ve arrived at the verdict. Would you be able to

       vote in favor of the death penalty if you concluded that that would be the

       appropriate sentence, given all of the factors in this case?

              PROSPECTIVE JUROR:           Well, if it was an option I would

       certainly give it strong consideration depending, again, on the evidence

       presented, and how I felt about it and any mitigating factors that would be

                                              2
Case 1:05-cr-00401-ILG      Document 274      Filed 12/14/07     Page 3 of 19 PageID #: 1603




       included, certainly, but again, it wouldn’t be something I will come to very

       easily or very lightly.

              THE COURT:           Well, the option is death penalty or life

       imprisonment without parole. If the question is if you concluded that the

       aggravating factors are significantly outweighed by the mitigating factors,

       or whatever it was or would be, that would cause you to conclude one way

       or the other, assuming you concluded the death penalty was appropriate,

       would you be able to vote for it if that was the conclusion which you reach?

              PROSPECTIVE JUROR:           If I felt in my heart it was justified I

       could do that, but again, it would depend on the circumstances involved

       and all other evidence.

              THE COURT:           Fair enough. Anything else?

              MR. HERMAN:          Yes. Can I be heard outside the presence of the

       – can you please excuse the juror? I had additional questions I want to

       ask.

              THE COURT:           Okay. Would you just step out for a moment please.

              PROSPECTIVE JUROR:           Sure.

       (Prospective Juror #74 exited the courtroom)

              MR. HERMAN:          The information that we would like to expand

       on is question 52B. The potential juror says strong mitigating factors, self-

       defense. For instance, by and large, self-defense is not a mitigating factor;

       it is a defense. We would ask that Your Honor simply tell the juror that

       mitigating factors could be about the defendant, his background, nature of

                                              3
Case 1:05-cr-00401-ILG     Document 274        Filed 12/14/07     Page 4 of 19 PageID #: 1604




       the offense, that type of thing, so we have some framework on which to

       make a determination as to whether he could consider those types of

       mitigating factors, but because it seems to me one could read this to the

       effect that if it is not self-defense, then he is going to vote for the death

       penalty and if that’s so, then he not qualify.

       So I think we need to know could he vote for life without parole for a

       person who’s been convicted of an intentional murder or purposeful

       murder. That is really our question. I know Your Honor has boiled it

       down to a single question, but something we need to know is that if they’re

       focused on someone who has been convicted of murder could they,

       nonetheless, give them life without parole if there were no defenses, no

       insanity, no self-defense, no accident. That’s what we would like to know.

              MR. JONES:            Judge, I’m not sure it is necessary. first of all, I

       realize self-defense is necessarily a mitigator, but I think in this case it is

       going to be for one of the murders, at least according to what Mr. McTier

       told the agents, one of the murders, that he thought his life was in danger.

       the guy said he would consider all the mitigators and all the aggravators. I

       don’t think we need to preview all the possibilities.

              THE COURT:            I was looking at the part four of the

       questionnaire. Mr. McTier would have the opportunity at the sentencing

       phase to present information referred to as mitigating factors that would

       suggest the death penalty is not appropriate in this case and mitigating

       factors are facts and circumstances about the defendant or the crime.

                                               4
Case 1:05-cr-00401-ILG     Document 274        Filed 12/14/07     Page 5 of 19 PageID #: 1605




       That’s what the witness was – this juror was talking about. And the reason

       I have on occasion mentioned a few things about education and

       background, and as I said those things, I wondered whether it would also

       be appropriate for me to be completely fair to both sides to mention

       aggravating factors which the government would be presenting.

              MR. HERMAN:           Yes, it would be. We have no objection, Judge.

       We know what their aggravating factors are because they listed them in

       the case. We don’t have a problem with that. Give the jurors information

       and then find out how they feel, and if they come back to the same place, at

       least, we know that they’ve had the opportunity to be fully informed about

       what is going on in the case.

              THE COURT:            Mr. Herman, I understand what it is that you’re

       saying but I think to be completely intellectually honest about what it is we

       are talking about when a prospective juror says it would depend upon all

       of the facts and circumstances as to whether he would or he wouldn’t, I

       have little doubt that all of the facts and circumstance would include that,

       but I’ll get the juror in and in the future I’ll elaborate on that, okay?

              MR. HERMAN:           Thank you, Your Honor.

              THE COURT:            Really, it’s the government’s view that the

       aggravating factors would go into perhaps – perhaps some mention of

       mitigating factors would be appropriate. Just to make sure that they

       understand it. The government is going to tell me that it seems that the

       defendant is trying to already pitch this view of the case. That’s what they

                                               5
Case 1:05-cr-00401-ILG     Document 274       Filed 12/14/07       Page 6 of 19 PageID #: 1606




       are trying to do; is that what you are trying to tell me?

              MR. KNOX:            No.

              THE COURT:           I am going to ask do you know what mitigating

       factors are. Let’s start that way. Okay.

              MR. HERMAN:          Thank you.

              (Prospective juror returned to the courtroom)

              THE COURT:           Thank. We were very, very impressed with

       your answers regarding how serious a determination a jury maybe called

       upon to make, but we were just curious as to when you spoke in one of the

       answers to your question about mitigating factors and you included self-

       defense and other mitigating factors, self-defense is not a mitigating

       factor. Self-defense would be a complete defense to the commission of the

       crime itself.

              PROSPECTIVE JUROR:           Okay.

              THE COURT:           When you spoke of mitigating factors what are

       the sorts of things you had in mine?

              PROSPECTIVE JUROR:           That is a good question. I really hadn’t

       given it any specific thought as far as what they would be. So, you know, it

       would be hard right off the top of my head to come up with something to

       answer that.

              THE COURT:           Well, there would be such things as the

       person’s background, the education he may or may not have had, the

       family environment in which he or she may have been living in, employment history, education

                                              6
Case 1:05-cr-00401-ILG    Document 274      Filed 12/14/07    Page 7 of 19 PageID #: 1607




             PROSPECTIVE JUROR:          Yeah, umm, not in each of those by

       themselves, but put together it could have some interest there, but you

       know, you, know generally speaking, I’d say you know, it’s hard to give a

       specific answer to it really. Some of the things you mentioned are certainly

       things that you can consider. How strong those would be and if they come

       into play, even – there’s no way to know until you hear them.

             THE COURT:           Well, if one were to define mitigating factors,

       one were to define the word mitigate, it would mean to tend to reduce the

       seriousness of not completely excuse but tend to ameliorate, soften the

       consequences of whatever it is that is the subject of consideration. So

       factors which would tend in that direction would be factors which would

       be regarded as mitigating factors. I don’t know what all of them are that

       are going to be presented. I mentioned a few which I think might be

       things that a juror may want to consider in determining whether one

       alternative sentence is more appropriate than another.

             Thank you, very much.

             PROSPECTIVE JUROR:          Thank you.

             (Prospective juror exited courtroom)

             THE COURT:           As I was listening to the juror’s answer the

       thought that came to mind very loudly and clearly was that the observation

       that Learned Hand was head to make quite frequently. He was fond of

       saying that over the portal of every courthouse in the land should be

       engraved: Think, I beseech yea, in the bowels of Christ that you may be

                                            7
Case 1:05-cr-00401-ILG    Document 274       Filed 12/14/07       Page 8 of 19 PageID #: 1608




       wrong. It may be that I was not completely right with respect to what a

       jury may have in mind with respect to mitigating. What are the mitigating

       factors:

               MR. HERMAN:         Background, education.

               THE COURT:          Those things that I mentioned.

               MR. HERMAN:         Exactly, upbringing, environment.

               THE COURT:          Something else?

               MR. HERMAN:         If you ask that, we’re satisfied. If the juror says

       no, that would make no difference to me.

 (Tr. at 603-611)

                                         *   *   *

               THE COURT:          Let’s move on the juror – oh, by the way, with

       respect to 74, qualified? Mr. . . ., do you have a view?

                                         *   *   *

               MR. PERLMUTTER:            Your Honor, I agree that that’s the case.

       When put directly to the individual he was candid. He said each of the

       factors that you mentioned he would not consider mitigation. Now he did

       say –

               THE COURT:          He didn’t say that at all.

               MR. PERLMUTTER:            He said in accumulation he may

       consider it.

               THE COURT:          Mr. Perlmutter, what is your application?

               MR. PERLMUTTER:            My application is he be dismissed for

                                             8
Case 1:05-cr-00401-ILG       Document 274      Filed 12/14/07    Page 9 of 19 PageID #: 1609




        cause.

                 THE COURT:         Denied.

 (Tr. at 611-612)

        As to juror #103.

                 THE COURT:         What are your feelings about the death penalty,

        generally? do you have some strong feelings about it, one way or the

        other? Do you feel the death penalty should always be imposed, never be

        imposed?

                 THE PROSPECTIVE JUROR:            Not always, not never. If it’s the

        law. And the killing was not an accident, if the person was in a clear mind

        and calculated this killing, so if it’s law, he know that it can happen to him.

        I think it’s fair.

                 THE COURT:         One of the questions here was a question:

        Whether the defendant should live or die if convicted of murder is a

        decision each juror has to make for himself, and do you feel you can make

        such a decision about whether a defendant should live or die?

                 And your answer was, Yes. Somebody have to punish criminals.

        That was your answer?

                 THE PROSPECTIVE JUROR:            Yes.

                 THE COURT:         Let me make sure that I understand your

        answer to one specific question, two parts of it.

                 THE PROSPECTIVE JUROR:            Hmm.

                 THE COURT:         One of the defendants in this case is accused of

                                               9
Case 1:05-cr-00401-ILG     Document 274 Filed 12/14/07           Page 10 of 19 PageID #:
                                      1610



     committing murders, and the government is seeking the death penalty for

     that one defendant. They are all charged with murder, but one defendant

     is a defendant for whom the [government] is seeking the death penalty.

            You may understand by now, and I suspect you do, that in this case

     where a person is on trial for a crime for which the alternative sentence

     may be death or imprisonment for life without parole, the case may be

     divided into two parts. first, there will be a trial where the jury will have to

     decide whether the government proved that the defendant is guilty. So,

     the jury will hear a lot of evidence about the crime, who committed it, how

     it was committed, and the jury will have to decide, after listening to all the

     evidence, whether the government proved, beyond a reasonable doubt,

     that the defendant is guilty of murder.

            Assume the jury returns a verdict of guilty. There will then be

     another trial, where the jury will have to decide what the punishment

     should be, what the sentence should be. That’s a decision for the jury in a

     case where the sentence could be either death or life imprisonment.

            At that trial, the government will present evidence of what the

     question described as aggravating factors. The government will present

     evidence which will seek to support their view that the death penalty is the

     appropriate sentence. So, their evidence will consist of evidence

     concerning the crime itself, how it was committed, who the victims may

     have been, where it was committed, when it was committed, factors which

     would tend to support their view that this is a case – the defendant in a

                                           10
Case 1:05-cr-00401-ILG       Document 274 Filed 12/14/07               Page 11 of 19 PageID #:
                                        1611



       case – in which the death penalty is appropriate.

       The defendant will then present his evidence to support the view that the death

penalty is not appropriate, but the appropriate sentence should be life imprisonment

without parole. And so his evidence will consist of, in effect, a picture of his life up to

the point where these crimes were committed, his education, his background and so on.

              Now, one of the questions was: If you were called upon, as a

       member of that jury, to decide between the death penalty and life in

       prison, would you consider the aggravating factors in favor of the death

       penalty?, and you said no. And the question was: Would you consider the

       mitigating factors in favor of the life imprisonment without parole?, and

       you said no.

              I suspect – let me not suspect anything. Is that what it was, you

       wouldn’t consider the mitigating factors, the aggravating factors, for the

       purpose of deciding which would be the appropriate sentence?

              THE PROSPECTIVE JUROR:                 A little bit the problem is English.

              THE COURT:            A little what?

              THE PROSPECTIVE JUROR:                 It was English.

              THE COURT:            English?

              THE PROSPECTIVE JUROR:                 Yes. So, I think I can make a

       correct decision.

              THE COURT:            Should the answer to both those questions have

       been yes, you will consider the aggravating factors?

              THE PROSPECTIVE JUROR:                 Probably, yes.

                                               11
Case 1:05-cr-00401-ILG     Document 274 Filed 12/14/07              Page 12 of 19 PageID #:
                                      1612



             THE COURT:          Just probably, or definitely?

             THE PROSPECTIVE JUROR:                Yes, definitely yes.

             THE COURT:          You would consider the aggravating factors and

      the mitigating factors?

             THE PROSPECTIVE JUROR:                Yes.

             THE COURT:          There was a problem of misunderstanding?

             THE PROSPECTIVE JUROR:                Misunderstanding, yes.

             THE COURT:          That’s all I had in reviewing the questions that I

      went over.

             Is there anything further?

             MR. HERMAN:         No, your Honor.

             MR. KNOX:           No, your Honor.

             THE COURT:          Thank you very much, Mr. One Hundred

      Three. You’ll be notified. Have a good day.

(Tr. at 702-706)

                                          *   *    *

             MR. TALKIN:         Judge, I just had a problem – I think he had a

      problem with language, with understanding. He definitely could

      understand some things. It’s not like he didn’t know what was going on. I

      think anything complex, he didn’t quite understand.

             I think that he didn’t understand the question about aggravators

      and mitigators, and I’m sure people who spoke also didn’t get it. He didn’t

      get it, because he didn’t understand the language. And I think that the

                                              12
Case 1:05-cr-00401-ILG      Document 274 Filed 12/14/07          Page 13 of 19 PageID #:
                                       1613



     problem is going to be, as I had with a couple of jurors in the past, and I

     know that the RICO charges and all the charges in this case are very

     complex and even a grad student would have trouble understanding

     everything, but I think he’s going – particularly is going to have difficulty

     understanding the law in this case, not even getting to the death penalty

     yet, where it’s even more intricate.

            I think the law in the RICO case and in this RICO case is going to be

     very important how they understand the elements of the crime, and I think

     that is he not suited for this trial. I think he could be a good juror in a case

     where it’s a robbery and a simple one TPO, where there’s not a lot of

     complexity going on, In what I think is the most complex criminal case we

     can be in, I don’t think it’s a good juror.

            MR. HERMAN:           We have concerns about his answer to the

     death penalty.. When he was first asked his position on the death penalty,

     he said, If the person had a clear mind and it wasn’t an accident, and he

     felt that the death penalty – I think he was saying the death penalty is

     always appropriate. He said, Somebody has to punish the criminals. And

     our concern is that although, when your Honor went through the process,

     he seemed to be amenable to it, I believe that what he was telling us

     initially and maybe even on the questionnaire, is that if there’s no defense

     to the crime, to the murder, that he’s automatically in favor of the death

     penalty. So, we move for cause, Judge.

            THE COURT:            Mr. Moskowitz, do you want to join in?

                                            13
Case 1:05-cr-00401-ILG     Document 274 Filed 12/14/07          Page 14 of 19 PageID #:
                                      1614



            MR. MOSKOWITZ: I join.

            MR. KNOX:            Your Honor, with respect to his answer to the

     death-penalty questions, there were several jurors who initially, in

     answering the question, offered an example that either would result, in

     their view, imposing the death penalty, or would prohibit them from

     voting for the death penalty. But it was clear, at least to us, that when you

     went through follow-up questions with him about aggravating factors and

     mitigating factors, about how the process worked, that he was right down

     the middle in terms of the fact that he would consider both aggravating

     and mitigating, and that it was not just a case in which the defendant had a

     clear head, that that would be the only -- that in all of those cases, he

     would vote for the death penalty. He didn’t say that at all.

            With respect to his understanding of the English language, at least

     from my vantage point sitting here, it seemed like he understood your

     Honor’s questions perfectly, and he was answering them all, and his

     answers were thoughtful and intelligent. His answers in the questionnaire

     were thoughtful and intelligent, with the exception of aggravating and

     mitigating. Again, I don’t think that’s a problem with his understanding of

     English generally, but he just didn’t understand what aggravating and

     mitigating meant in that legal context, and half the jurors who have come

     in here haven’t understood that.

            MR. TALKIN:          I want to point to No. 79, where he has a

     concern. he says himself, Do you know of any reason why you cannot or

                                           14
Case 1:05-cr-00401-ILG        Document 274 Filed 12/14/07         Page 15 of 19 PageID #:
                                         1615



      should not serve as a juror in this case? He said, The lack of understanding of English.

             MR. PERLMUTTER:               He even confessed that to you during the

      question, and said that his English was really at its limits.

             THE COURT:            Inquiring of this juror, I think that he is not

      substantially impaired at all.

             And what I find remarkable is the assertion or the basis for his

      confusion about mitigating and aggravating circumstances.

             I have been asked by counsel to please make sure that the

      prospective jurors understand what mitigating circumstances are and

      what aggravating circumstances are, and if we have a prospective juror

      who wasn’t entirely clear, and I explain it to him, and he then is clear and

      understands it and says it was a misunderstanding, that becomes a basis

      for disqualification.

             It seems to me that that’s being a little less than candid with respect

      to who is and who isn’t substantially impaired.

             Your application is denied.

(Tr. at 706-710)

      By way of background, it must be noted that to facilitate the very sensitive and

extremely difficult process of selecting a “death qualified” jury, approximately 600

prospective jurors were summoned. The limitations of space required that

approximately 300 of them assemble in the ceremonial courtroom of this courthouse in

the morning, and approximately the same number assembled in that courtroom in the

afternoon. The Court addressed each group at some length, informing them of the

                                             15
Case 1:05-cr-00401-ILG       Document 274 Filed 12/14/07          Page 16 of 19 PageID #:
                                        1616



nature of the case for which they were summoned to serve and the preliminary

instructions regarding burden of proof, presumption of innocence, the introduction of

the defendants, their lawyers, the prosecutors and instruction about the objective of the

jury selection process being the selection of jurors who would come to the case with an

open mind, without bias or prejudice for or against either side, with the ability to

consider the evidence to be presented fairly and objectively and follow the Court’s

instruction as to the law. They were also informed why they are being selected

anonymously. The prospective jurors were each then given an 80 question, 51 page

questionnaire to complete. Information about their background, education,

employment, willingness and ability to follow the Court’s instructions as to the law on

matters of relevance to the case was elicited. Of the 80, approximately 25 questions

designed to elicit attitude and opinions regarding the death penalty were requested.

Several weeks were then devoted by the parties to reviewing the questionnaires and

eliminating those who were patently unqualified to serve. Surviving that process were

224 jurors, each of whom was then questioned separately, in open court in the presence

of all the parties, over a period of 15 days. The answers given on the questionnaires,

supplemented by the answers elicited on voir dire and by the Court’s appraisal of the

demeanor, responsiveness and attitude of each prospective juror who was seated next to

him, were the determining factors on qualification to serve.

       Juror #74 is a college graduate whose answers to the questions in the

questionnaire were responsive and obviously thoughtful and carefully considered. He

answered in an unequivocal affirmative that he would consider aggravating and

mitigating circumstances (Q. 59(a) and (b)). His demeanor and attitude during his voir

                                            16
Case 1:05-cr-00401-ILG       Document 274 Filed 12/14/07           Page 17 of 19 PageID #:
                                        1617



dire left the Court with no doubt that he met all the criteria for jury service in a death

penalty case.

       An evaluation of Juror #103's questionnaire and his responses to questions put to

him during his voir dire was as positive as was my evaluation of Juror #74. His

demeanor and attitude similarly caused me to conclude that he too, satisfied all the

requirements for jury service in a death penalty case. I was particularly mindful of his

concern about his indication of a language limitation in evaluating his questionnaire and

during the voir dire. He understood every question I put to him and answered them

responsively and without hesitation. Having interviewed, individually, upwards of 220

prospect jurors, it was plainly apparent to me that his spoken English and his

comprehension of it compared favorably to most and better than to some and that his

indicated difficulty with the language was a reflection of self-consciousness or modesty.

His misunderstanding of “aggravating” and “mitigating” was not peculiar to him. It

became apparent over the course of this very difficult selection process that not

infrequently, the questionnaires, when distributed, were answered quickly, requested

answers to questions to which some, if not most, jurors had not previously given thought

and did not, for a variety of reasons, take the time needed to ponder precise answers.

Answers which, upon voir dire, reflected a misunderstanding of the question or an

answer that was incorrect because given in haste, were frequently revealed. In sum, I

had no doubt that this juror was qualified to serve and not impaired to any degree.

       Only a judge who has experienced the process of selecting a jury in a death

penalty case can deeply appreciate the wisdom and accuracy of the observation in

Wainwright v. Witt, 469 U.S. 412 (1985), quoted in the most recent case of Uttecht v.

                                             17
Case 1:05-cr-00401-ILG       Document 274 Filed 12/14/07          Page 18 of 19 PageID #:
                                        1618



Brown, --- U.S. ---, 127 S. Ct. 2218 (2007) at 2223:

              “The Court in Witt instructed that, in applying this standard
              [whether the juror’s views would prevent or substantially
              impair the performance of his duties as a juror in accordance
              with his instructions and his oath] reviewing courts are to
              accord deference to the trial court. Deference is owed
              regardless of whether the trial court engages in explicit
              analysis regarding substantial impairment; . . . The judgment
              as to ‘whether a venireman is biased’ . . . is based upon
              determinations of demeanor and credibility that are
              peculiarly within a trial judge’s province. . . And the finding
              may be upheld even in the absence of clear statements from
              the juror that he or she is impaired because ‘many veniremen
              simply cannot be asked enough questions to reach the point
              where their bias has been made unmistakably clear;’ these
              veniremen will not know how they will react when faced with
              imposing the death sentence or may be unable to articulate
              or may wish to hide their true feelings.’ Thus, when there is
              ambiguity in the prospective juror’s statements, ‘the trial
              court, aided as it undoubtedly [is] by its assessment of [the
              venireman’s] demeanor, [is] entitled to resolve it in favor of
              the State.’” (Internal citations omitted.)

       See also Darden v. Wainwright, 477 U.S. 168, 178 (1986) (The rule of deference to

the trial court was reinforced in similarly compelling language.)

       The validity of the teaching of Witt and Darden reflects an understanding that the

voir dire of a prospective juror in a death penalty case with a view to determining the

existence or absence of “substantial impairment” is often a challenging exercise in

sociology, psychology, race relations and religion and calls upon the totality of the

judge’s life experience and insight into the human condition that life’s experience

provided. In making that difficult determination, the federal judge “has no shelter but

his innocence.” 604 F.2d at LXVII.

       For all the foregoing reasons, the defendant’s request to reconsider the Court’s

decision as regards jurors 74 and 103 is denied.

                                            18
Case 1:05-cr-00401-ILG   Document 274 Filed 12/14/07       Page 19 of 19 PageID #:
                                    1619



         SO ORDERED.

Dated:       Brooklyn, New York
             December 14, 2007



                                                            S/
                                          I. Leo Glasser




                                     19
